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                          IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TENNESSEE


NANCY PLUNK                                 )
                                            )
        Plaintiff,                          )
                                            )
v.                                          )      Case No. 1:23-cv-1058
                                            )
SHELTER MUTUAL INSURANCE                    )      JURY DEMAND
COMPANY, JOHN PRICE, VCE, INC.,             )
and JASON PIRTLE                            )
                                            )
        Defendants.                         )
                                            )

                            MEMORANDUM IN SUPPORT OF
                      DEFENDANT, JOHN PRICE, MOTION TO DISMISS

        Comes now the Defendant, John Price (“Price”), by and through counsel, and

provides the following memorandum in support of his Motion to Dismiss pursuant to Rule

12(b)(6) of the Fed. R. Civ. P. In support of the motion, Defendant Price would demonstrate

as follows:

                                    FACTUAL SUMMARY

        On March 7, 2023, the Plaintiff, Nancy Plunk, filed suit against Price in the Circuit

Court for Madison County, Tennessee, where said action was removed by Shelter Mutual

Insurance Company (“Shelter”) to this court on April 13, 2023. On March 14, 2023, Price

received a summons and a copy of the complaint after it was left at his place of employment.

In its removal, Shelter asserted Priced had been fraudulently joined as a defendant for the

sole purpose of attempting to defeat diversity jurisdiction.

        The causes of action against Price in the Plaintiff’s complaint are for Breach of

Contract and violations of Tenn. Code Ann. § 56-53-103. All of the allegations against




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Price were alleged to arise out of his alleged misrepresentation of coverage terms and

benefits as an adjuster for Shelter.

                                    LAW AND ARGUMENT

        A Defendant may move to dismiss all or part of a lawsuit if the facts alleged in the

lawsuit fail to state a claim upon which relief may be granted. See Fed. R. Civ. P. 12(b)(6).

When evaluating a motion to dismiss for failure to state a claim, the Court must determine

whether the complaint alleges “sufficient factual matter, accepted as true, to ‘state a claim

to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). The Court “need not accept as true

legal conclusions or unwarranted factual inferences, and conclusory allegations or legal

conclusions masquerading as factual allegations will not suffice.” D’Ambrosio v. Marino,

747 F.3d 378, 383 (6th Cir. 2014) (quoting Terry v. Tyson Farms, Inc., 604 F.3d 272, 275–

76 (6th Cir. 2010)). “[A] plaintiff's obligation to provide the ‘grounds’ of his ‘entitlement to

relief requires more than labels and conclusions, and a formulaic recitation of the

elements of a cause of action will not do.’” Id. (quoting Republic Bank & Tr. Co. v. Bear

Stearns & Co., Inc., 683 F.3d 239, 246–47 (6th Cir. 2012)) (emphasis added).

        To survive a Rule 12(b)(6) motion, a party must plead “enough facts to state a

claim to relief that is plausible on its face.” Twombly, 550 U.S. at 570; see also Chandler

v. Sec’y of Fla. Dep’t of Transp., 695 F.3d 1194, 1199 (11th Cir. 2012). The Supreme

Court has explained this standard as follows:

        A claim has facial plausibility when the plaintiff pleads factual content that
        allows the court to draw the reasonable inference that the defendant is liable
        for the misconduct alleged. The plausibility standard is not akin to a
        “probability requirement,” but it asks for more than a sheer possibility that a
        defendant has acted unlawfully.




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Iqbal, 556 U.S. at 678 (2009) (citation omitted); see also Resnick v. AvMed, Inc., 693 F.3d

1317, 1324–25 (11th Cir. 2012). Thus, a claim will survive a motion to dismiss only if the

factual allegations in the pleaded are “enough to raise a right to relief above the

speculative level ….” Twombly, 550 U.S. at 555–56 (citations omitted). “[A] formulaic

recitation of the elements of a cause of action will not do.” Id. at 555 (citation omitted).

While all well-pleaded facts must be accepted as true and construed in the light most

favorable to the pleader, Powell v. Thomas, 643 F.3d 1300, 1302 (11th Cir. 2011), the

Court need not accept as true the pleader’s legal conclusions, including those couched

as factual allegations. See Iqbal, 556 U.S. at 678.

1.      Tenn. Code Ann. § 56-53-103 Does Not Apply to Price

        The Unlawful Insurance act is codified at Tenn. Code Ann. § 56-53-103. The Act

has two distinct sections with very different verbiage in each. The first section provides

as follows:

        (a) Any person who commits, participates in, or aids, abets, or conspires to
        commit, or solicits another person to commit, or permits its employees or its
        agents to commit any of the following acts with an intent to induce reliance,
        has committed an unlawful insurance act:

                (1) Presents, causes to be presented, or prepares with knowledge or
                belief that it will be presented, by or on behalf of an insured, claimant
                or applicant to an insurer, insurance professional or a premium
                finance company in connection with an insurance transaction or
                premium finance transaction, any information that the person knows
                to contain false representations, or representations the falsity of
                which the person has recklessly disregarded, as to any material fact,
                or that withholds or conceals a material fact, concerning any of the
                following:

                        (A) The application for, rating of, or renewal of, any insurance
                        policy;




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                        (B) A claim for payment or benefit pursuant to any insurance
                        policy;

                        (C) Payments made in accordance with the terms of any
                        insurance policy; or

                        (D) The application for the financing of any insurance
                        premium;

Tenn. Code Ann. § 56-53-103(a)(1). This portion of the Act does not apply to Price

because this applies to insureds, not insurers, and certainly not adjusters. Price is not an

insured. This portion of the Act makes it unlawful for any person who “presents, causes

to be presented, or prepares with knowledge or belief that it will be presented, by or on

behalf of an insured, claimant or applicant to an insurer, insurance professional or a

premium finance company … any information that the person knows to contain false

representations, or representations the falsity of which the person has recklessly

disregarded, as to any material fact, or that withholds or conceals a material fact …

concerning” and insurance application, claim for benefits, payments made under a policy

of insurance, or financing an insurance premium. First, this portion of the Act clearly only

applies to persons presenting information by or on behalf of an insured or claimant. Mr.

Price did not present any information by an insured or on behalf of an insured. Case law

in Tennessee clearly supports the conclusion that the Act would not apply to these facts

as pleaded even after the Court must assume the facts to be true at this stage of pleading.

See Cantrell v. Yates Servs., LLC, 205 F. Supp. 3d 928, 933 (M.D. Tenn. 2016) (“Tenn.

Code Ann. § 56-53-103(a)[] … makes it unlawful for an insured person to ‘present[]. . . to

an insurer . . . any information that the person knows to contain false representations, or

representations the falsity of which the person has recklessly disregarded, as to any




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material fact, or that withholds or conceals a material fact, concerning . . . [a] claim for

payment or benefit pursuant to any insurance policy.’”). (Emphasis added.) See also,

Allstate Life Ins. Co. v. Tyler-Howard, No. 3:19-cv-00276, 2019 U.S. Dist. LEXIS 174591,

at *7 (M.D. Tenn. Oct. 8, 2019); Craighead v. Bluecross Blueshield of Tenn., Inc., No.

M2007-01697-COA-R10-CV, 2008 Tenn. App. LEXIS 454, at *11 (Ct. App. July 31, 2008)

(“Any insurer or insurance professional who has reasonable belief that an act violating §

56-53-102 or §56-53-103 will be, is being, or has been committed shall furnish and

disclose any information in such insurance professional's possession concerning such

act to the appropriate law enforcement official or authority, insurance department, state

division of insurance fraud, or state or federal regulatory or licensing authority ….”)

(emphasis added); Monumental Life Ins. Co. v. Puckett, No. W2005-00083-COA-R3-CV,

2006 Tenn. App. LEXIS 12, at *12 (Ct. App. Jan. 9, 2006); Hanover Am. Ins. Co. v.

Tattooed Millionaire Entm't, LLC, Civil Action No. 2:16-cv-2817, 2021 U.S. Dist. LEXIS

258210, at *12 (W.D. Tenn. Sep. 21, 2021); UnitedHealthCare Servs. v. Team Health

Holdings, Inc., No. 3:21-CV-00364-DCLC-JEM, 2022 U.S. Dist. LEXIS 84264, at *22

(E.D. Tenn. May 10, 2022).

        This portion of the Act only applies to an insured, or someone submitting

information on behalf of an insured for the purposes of receiving insurance benefits under

a claim on a policy of insurance. Because Price is not the insured and he did not submit

information on behalf of the insured, the Act does not apply to him.

        The second pertinent part of the Act provides as follows:

        (a) Any person who commits, participates in, or aids, abets, or conspires to
        commit, or solicits another person to commit, or permits its employees or its
        agents to commit any of the following acts with an intent to induce reliance,




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        has committed an unlawful insurance act:

                (2) Presents, causes to be presented, or prepares with knowledge or
                belief that it will be presented, to or by an insurer, insurance
                professional or a premium finance company in connection with an
                insurance transaction or premium finance transaction, any
                information that the person knows to contain false representations,
                or representations the falsity of which the person has recklessly
                disregarded, as to any material fact, or that withholds or conceals a
                material fact, concerning any of the following:

                        (A) The solicitation for sale of any insurance policy or
                        purported insurance policy;

                        (B) An application for certificate of authority;

                        (C) The financial condition of any insurer; or

                        (D) The acquisition, formation,         merger,    affiliation   or
                        dissolution of any insurer;

Tenn. Code Ann. § 56-53-103(a)(2). This portion of the act is also inapplicable because,

while it does apply to “an insurer, insurance professional[,] or a premium finance company

…”, it only applies to the sale of an insurance policy or the solicitation for sale of an

insurance policy; an application for certificate of authority; the financial condition of any

insurer; or the acquisition, formation, merger, affiliation or dissolution of any insurer. See

Tenn. Code Ann. § 56-53-103(a)(2). The Plaintiff’s complaint does not contain any such

allegations against Price, and thus, this portion of the act does not apply.

        Considering the Plaintiffs’ claims against Price for alleged violations of the Act do

not fall under any portion of the Act, all Plaintiff’s allegations regarding alleged violations

of the Act must be dismissed, with prejudice, as to Price. Because the Act does not apply,

the claims under Tenn. Code Ann. § 56-53-103 against Price fail as a matter of law and

must be dismissed.




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        Plaintiff’s complaint makes it clear that it was Shelter that issued the insurance

policy to the Plaintiff. Plaintiff’s breach of contract action is based upon that policy

contract. Because Price was not a party to that contract, he could not have breached the

contract, and the breach of contract claims against him must be dismissed. Furthermore,

the claims in the complaint seeking to compel appraisal and for punitive damages should

be dismissed as applied to Price.

2.      Price Cannot Be Personally Liable

        As referenced in the Complaint, Defendant John Price is an insurance adjuster for

Shelter, and all the claims raised against him in the Complaint stem from his actions during

the course and scope of his employment as an insurance adjuster for Shelter. The

allegations in Plaintiff’s Complaint against Defendant Price specifically relate to statements

made concerning the Plaintiff’s claim.

        This Court in Sainaam Inc. v. Am. Nat’l Prop. & Cas. Co., confirmed that “it is well-

settled in Tennessee that an insurance agent is not personally liable on an insurance

contract formed while the agent was acting within the scope of the agency relationship, and,

as here, the contracting parties understood that the agent was acting on behalf of a principal

insurance company.” No. 08-1149, 2008 U.S. Dist. LEXIS 70071, at 10-12 (W.D. Tenn.,

2008) (citing Holt v. American Progressive Life Ins. Co., 731 S.W.2d at 925 (Tenn. Ct. App.

1987)). Additionally, in Gilbert v. Nationwide Ins. Co., the Court held that an insurance

adjuster was fraudulently joined where:

                There is sufficient evidence that plaintiffs do not have a cause of action
                against Stewart under Tennessee law.                   Defendants have
                demonstrated that there is no concern that plaintiffs cannot obtain
                complete relief if Stewart is not made a party to this action. There is
                no allegation in the complaint that Stewart acted in any way which




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                would create individual liability against her under Tennessee law.
                There is no evidence that the denial of plaintiffs’ insurance claim is
                anything more than a corporate wrong for which Nationwide, and not
                its employee, could be liable. There is no allegation and no proof that
                Stewart acted outside the scope of her employment as Nationwide’s
                insurance adjuster. There is no evidence that Stewart owed plaintiffs
                an independent contractual duty. There was no “colorable basis for
                predicting” that plaintiffs could recover against Stewart under
                Tennessee law.

No. 08-2681-STA-DKV, 2009 U.S. Dist. LEXIS 4409, at 6-7 (W.D. Tenn., 2009).

          Such mirrors the facts surrounding Defendant Price. The plaintiff does not have a

cause of action against Mr. Price as he was working in the course and scope of his

employment as an insurance adjuster for Shelter. Plaintiffs can obtain complete relief for

any potential, appropriate claims without Mr. Price being a party. There is no allegation that

Price owed plaintiff an independent contractual duty. There is no “colorable basis for

predicting” that plaintiff could recover against Price under Tennessee law. Plaintiff has not

alleged any facts that, even if true, show that she is entitled to relief from Defendant Price.

Thus, Price should be dismissed as a matter of law.

          WHEREFORE, Defendant Price hereby requests that this Court enter an Order

dismissing him from the complaint with prejudice pursuant to Rule 12(b)(6) of the Fed. R.

Civ. P.


                                     Respectfully submitted,


                                     ____/s E. Jason Ferrell__________________________
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                                    CERTIFICATE OF SERVICE

       I hereby certify that on this 20th day of April, 2023, a true and correct copy of the
foregoing was filed electronically. Notice of this filing will be sent by operation of the court’s
electronic filing system to all parties indicated on the electronic filing receipt. All other parties
will be served by regular U. S. Mail. Parties may access this file through the court’s
electronic filing system.

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                                       ____/s E. Jason Ferrell__________________________
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